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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 1:12-CR-87-6
                                                  §
                                                  §
 LUIS ALBERTO VELAZQUEZ                           §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On May 21, 2014, this case came before the undersigned United States Magistrate Judge for

 entry of a guilty plea by the Defendant, Luis Alberto Velazquez, to Count Two of the Superseding

 Indictment. Count Two of the Superseding Indictment alleges that on or about January 1, 2006 to

 on or about June 18, 2012, in the Eastern District of Texas and elsewhere, the defendant and others,

 did knowingly, willfully, and unlawfully conspire, combine, confederate, and agree with others

 known and unknown to the Grand Jury, to commit offenses against the United States, that is, to

 conduct and attempt to conduct financial transactions affecting interstate and foreign commerce,

 which involved the proceeds of a specified unlawful activity, to wit: conspiracy to distribute and

 posses with intent to distribute five (5) kilograms or more of a Schedule II controlled substance,



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 namely cocaine HCL, in violation of 21 U.S.C. § 846, knowing that the property involved

 represented the proceeds of some form of unlawful activity, with the intent to conceal and disguise

 the nature, source, or ownership of such proceeds, in violation of 18 U.S.C. § 1956(a)(1)(B)(I), said

 financial transactions being the receiving of or attempting to receive and the delivery or attempted

 deliver of bulk money shipments of United States currency received from purchasers of cocaine

 HCL provided by the Lamas drug trafficking organization for the purpose of delivery to co-

 conspirators in the Southern District of Texas via transportation of the tainted proceeds through the

 Eastern District of Texas, all in violation of Title 18, United States Code, Section 1956(h).

        The Defendant, Luis Alberto Velazquez, entered a plea of guilty to Count Two of the

 Superseding Indictment into the record at the hearing. After conducting the proceeding in the form

 and manner prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

        a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

 verified that he understood the terms of the plea agreement, agreed to the Government’s summary

 of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

 extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM. P. 11

 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court does

 not follow the particular recommendations or requests. To the extent that any or all of the terms of



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 the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

 particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

          d.        That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crimes charged under 18 U.S.C. § 1956(h).

                                           STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Luis Alberto

 Velazquez, is one and the same person charged in the Superseding Indictment and that the events


          1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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 described in the Superseding Indictment occurred in the Eastern District of Texas and elsewhere.

 The Government would also have proven, beyond a reasonable doubt, each and every essential

 element of the offense as alleged in Count Two of the Superseding Indictment through the testimony

 of witnesses, including expert witnesses, and admissible exhibits. In support of the Defendant’s

 plea, the undersigned incorporates the proffer of evidence described in detail in the factual basis and

 stipulation, and the representations made by counsel for the Government at the hearing.

        The Defendant, Luis Alberto Velazquez, agreed with and stipulated to the evidence presented

 in the factual basis and agreed to the Government’s proffer. Counsel for the Defendant and the

 Government attested to the Defendant’s competency and capability to enter an informed plea of

 guilty. The Defendant agreed with the evidence presented by the Government and personally

 testified that he was entering his guilty plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Two of the Superseding Indictment.                 It is also

 recommended that the District Court conditionally accept the plea agreement pending review of the

 presentence report. Accordingly, it is further recommended that the Defendant, Luis Alberto

 Velazquez, be finally adjudged guilty of the charged offense under Title 18, United States Code,

 Section 1956(h), and the District Court should accept the plea agreement.

        If the plea agreement is rejected and the Defendant still persists in the guilty plea, the

 disposition of the case may be less favorable to the Defendant than that contemplated by the plea

 agreement. The Defendant is ordered to report to the United States Probation Department for the


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 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

 safeguards afforded by Congress and the courts require that, when a party takes advantage of his

 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



        SIGNED this 22nd day of May, 2014.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge




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